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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                          UNITED STATES DISTRICT COURT                            February 08, 2023
                           SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                               HOUSTON DIVISION


RACHEL LUNA,                                  §
                                              §
        Plaintiff,                            §
                                              §
VS.                                           §   CIVIL ACTION NO. 4:21-CV-04123
                                              §
PENNYMAC LOAN SERVICES, LLC,                  §
                                              §
        Defendant.                            §


                                    FINAL JUDGMENT

       On January 26, 2023, the Court dismissed this case without prejudice for failure to

prosecute. Pursuant to Federal Rule of Civil Procedure 58(a), final judgment is hereby ENTERED

for Defendant.

       IT IS SO ORDERED.

        Signed at Houston, Texas on February 8, 2023.


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                                                   Keith P. Ellison
                                                   United States District Judge




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